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                       11                         UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
RUSS, AUGUST & KABAT




                       12                               SAN JOSE DIVISION
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                                                                        Case No. 5:24-cv-04740-PCP
                       14   RED HAT, INC.,
                                                                        [PROPOSED] ORDER DENYING
                       15                    Plaintiff,                 PLAINTIFF RED HAT’S
                                                                        ADMINISTRATIVE MOTION FOR
                       16               v.                              LEAVE TO FILE A SUR-REPLY IN
                       17                                               SUPPORT OF OPPOSITION TO
                            VIRTAMOVE CORP.,                            MOTION TO DISMISS
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                                              Defendant.                Jury Trial Demanded
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                                                                        Judge          Hon. P. Casey Pitts
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                                                                        Location:      Courtroom 8, 4th Floor
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                                                                                                  Case No. 5:24-cv-04740-PCP
                                                      [PROPOSED] ORDER RE RED HAT’S ADMIN. MOTION FOR LEAVE FOR SUR-REPLY
                            Case 5:24-cv-04740-PCP        Document 51-1        Filed 11/15/24     Page 2 of 2



                        1          Having considered Plaintiff Red Hat’s Administrative Motion for Leave to File a Sur-
                        2   Reply to Plaintiff Red Hat’s Reply in Support of its Opposition to Motion to Dismiss, the Court
                        3   DENIES the motion. The proposed sur-reply that Red Hat submitted as Exhibit A to the Motion

                        4   shall not be considered in connection with VirtaMove’s motion to dismiss.
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                        6          IT IS SO ORDERED.
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                        8   Dated: _______________, 2024
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                                                                          Hon. P. Casey Pitts
                       10                                                 United States District Judge
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RUSS, AUGUST & KABAT




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                                                          [PROPOSED] ORDER RE RED HAT’S ADMIN. MOTION FOR LEAVE FOR SUR-REPLY
